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 Counsel to the GUC Trustee

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 In re:                                                             §     Case No. 20-32633-SGJ
                                                                    §
 STUDIO MOVIE GRILL HOLDINGS, LLC, et al.,1                         §     Chapter 11
                                                                    §
                   Debtors.                                         §     Jointly Administered

                        STIPULATION WITH KAMAT DAMANI
                  REGARDING (I) PROOF OF CLAIM NUMBER 268 AND
          (II) RELIEF FROM THE AUTOMATIC STAY AND PLAN INJUNCTION

          This Stipulation (the “Stipulation”) is dated October 27, 2022, between Advisory Trust

Group, LLC (the “GUC Trustee”), solely in its capacity as GUC Trustee of the GUC Trust (the

“GUC Trust”), Movie Grill Concepts XXVI, LLC (the “Reorganized Debtor”), and Kamat

Damani (“Plaintiff”), as plaintiff in a pending lawsuit before the Illinois Workers’ Compensation

Commission (the “Commission”), case number 18WC010582, captioned Kamat Damani v. Studio

Movie Grill (the “Lawsuit”).

          IT IS HEREBY STIPULATED by all parties to the above-captioned matter as follows:

          WHEREAS on April 9, 2018, the Plaintiff filed the Lawsuit against Movie Grill Concepts

XXVI, LLC (the “SMG Defendant”). In the Lawsuit, Plaintiff alleges a workplace injury.




1 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://www.donlinrecano.com/Clients/smgh/Index.


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        WHEREAS on October 23, 2020 (the “Petition Date”), each of the above-captioned

debtors and debtors-in-possession (collectively the “Debtors”), filed voluntary petitions for relief

under chapter 11 of the United States Code, 11 U.S.C. § § 101-1532 (the “Bankruptcy Code”),

in the United States Bankruptcy Court for the Northern District of Texas (the “Bankruptcy

Court”). The chapter 11 cases are pending before the Honorable Stacey G. Jernigan, United States

Bankruptcy Judge, and are being jointly administered under the lead case, In re Studio Movie Grill

Holdings, LLC, Case No. 20-32633-SGJ.

        WHEREAS, the Debtors continued in possession of their properties as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        WHEREAS, on March 31, 2021, the Court entered the order [Docket No. 875] (the

“Confirmation Order”) confirming the Debtors’ Fourth Amended Joint Chapter 11 Plan of

Reorganization [Docket No. 875] (the “Plan”).

        WHEREAS, the Plan became effective by its terms April 15, 2021 (the “Effective Date”).

See Notice of (I) Entry of Order Confirming the Debtors' Fourth Amended Joint Chapter 11 Plan

of Reorganization and (II) Occurrence of the Effective Date [Docket No. 917].

        WHEREAS, the GUC Trust was created pursuant to the Plan and the GUC Trust

Agreement, and Advisory Trust Group, LLC was appointed as the GUC Trustee of the GUC Trust.

See Plan at Article IV.B.1-2.

        WHEREAS, pursuant to Article VII.B of the Plan, (a) the GUC Trustee is vested with the

sole authority to prosecute objections to GUC Claims, Convenience Class Claims, and the Panterra

Claims and (b) the Reorganized Debtors are vested with the sole authority to prosecute objections

to all other Claims, in each instance from and after the Effective Date of the Plan.




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        WHEREAS, on or about February 5, 2021, Plaintiff filed proof of claim number 257

(“Claim No. 268”) against the Reorganized Debtor.

        WHEREAS the parties agree that the SMG Defendant is an indispensable party to the

Lawsuit.

        NOW, THEREFORE, the parties agree as follows:

                 1.          The foregoing recitals are hereby incorporated by reference into this

Stipulation with the same force and effect as if set forth fully hereinafter.

                 2.          The automatic stay under section 362 of the Bankruptcy Code and the

injunction imposed by Article VIII.H of the Plan, as applicable, is modified to permit Plaintiff to

continue the Lawsuit solely for the purpose of pursuing, litigating, and collecting from applicable

insurance policies, if any, and not against the Debtors, their estates, the GUC Trust or their

successors.

                 3.          Plaintiff agrees and acknowledges that (1) any recovery arising from the

Lawsuit with respect to the Debtors, their estates, or their successors is limited to funds made

available from applicable insurance policies, if any, and not from the Debtors, their estates, or their

successors; (2) to the extent that applicable insurance policies, if any, do not satisfy any judgment

or settlement from the Lawsuit, for any reason, neither the Debtors, their estates, the GUC Trust,

or any of their successors shall satisfy nor be liable for any such unsatisfied portion, which might

otherwise be considered a general unsecured claim in these chapter 11 proceedings, and Plaintiff

shall not seek to collect on any such unsatisfied portion from the Debtors, their estates, the GUC

Trust, or any of their successors; and (3) Plaintiff agrees to hold the Debtors and the GUC Trust

harmless with respect to any claim that may be asserted by any insurance carrier on account of any

deductible or self-insured retention that must be satisfied prior to the payment to Plaintiff of any



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judgment or settlement by setting off any recovery by the amount of any such deductible or self-

insured retention.

                 4.          Plaintiff agrees that Claim No. 268 and any other claims or proofs of claim

held, asserted, filed or to be filed by Plaintiff in connection with Lawsuit against the Debtors, their

estates, the Reorganized Debtors, or their successors in these chapter 11 cases, if any (including

any claims for subrogation), are, by entry of this Stipulation, deemed disallowed and expunged

and reflected as such on the Bankruptcy Court’s official claims register.

                 5.          Nothing in this Stipulation: (i) alters, modifies, or otherwise amends the

terms and conditions of, or the coverage provided by, any insurance policies issued at any time to

any of the Debtors, their affiliates or predecessors of any of the foregoing or of any agreements

related thereto; (ii) alters or modifies the duty, if any, that any applicable insurer or third party

administrator has to pay claims covered by any alleged applicable insurance policy; (iii); creates

or permits a direct right of action by Plaintiff against any insurers; or (iv) precludes or limits, in

any way, the rights of any insurer to contest and/or litigate the existence, primacy and/or scope of

available coverage under any allegedly applicable insurance policy.

                 6.          By entering into this Stipulation, neither party is waiving nor will be deemed

to have waived any available claims or defenses, including at law, equity, or otherwise with respect

to the Lawsuit, except as otherwise provided in this Stipulation.

                 7.          Neither the Stipulation nor any negotiations and writings in connection with

this Stipulation will, in any way, be construed as or deemed to be evidence of or an admission on

behalf of any party regarding any claim or right that such party may have against the other party.

                 8.          Each of the Parties hereto represents and warrants that it is duly authorized

to enter into and be bound by this Stipulation.



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                 9.          This Stipulation may be executed in multiple counterparts, any of which

may be transmitted by facsimile or electronic mail, and each of which will be deemed an original,

but all of which together will constitute one instruments.

                 10.         The terms and conditions of this Stipulation shall be immediately effective

and enforceable upon its entry.

                 11.         The Bankruptcy Court retains exclusive jurisdiction to resolve any dispute

arising from or related to the interpretation or enforcement of this Stipulation.

ACCEPTED AND AGREED TO:

 Dated: October 27, 2022                               PACHULSKI STANG ZIEHL & JONES LLP

                                                       By:     /s/ Steven W. Golden
                                                       Jeffrey N. Pomerantz (admitted pro hac vice)
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                                                       Counsel to the GUC Trust


 Dated: October 27, 2022                               MCHARGUE AND JONES, LLC

                                                       By: /s/ Brenton M. Schmitz
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                                                       Chicago, IL 60602
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                                                       Counsel to Kamat Damani


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 Dated: October 27, 2022                          LAW OFFICES OF FRANK J. WRIGHT, PLLC

                                                  By: /s/ Jeffery M. Veteto
                                                  Frank J. Wright
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                                                  Jeffery M. Veteto
                                                  Texas Bar No. 24098548
                                                  12222 Merit Drive, Suite 1700
                                                  Dallas, TX 75251-2269
                                                  Telephone: (214) 935-9100

                                                  Counsel to the Reorganized Debtors


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of October, 2022, a true and correct copy of the above
and foregoing has been served by electronic transmission to all registered CM/ECF users appearing
in these cases.

                                                      /s/ Steven W. Golden
                                                      Steven W. Golden, Esq.




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